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             Activity in Case 1:18-cv-00105-LG-RHW Plant Materials , LLC vs. Alliance
             Consulting Group, LLC Designation of Record for Bankruptcy
             cmecfhelpdesk    to: Courtmail                                   05/09/2018 10:33 AM

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Notice of Electronic Filing

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Case Name:               Plant Materials, LLC vs. Alliance Consulting Group, LLC
Case Number:             1:18-cv-00105-LG-RHW
Filer:
Document Number:         2

Docket Text:
DESIGNATION of Record for Bankruptcy (Attachments: # (1) USBC Clerk's
Certificate, # (2) Item 1 - Docket Sheet, # (3) Item 2 - Designated Items Part 1, # (4)
Item 2 - Designated Items Part 2, # (5) Item 2 - Designated Items Part 3, # (6) Item 3
- Dkt No. 843-7, Exhibit 41(d), # (7) Item 4 - Appellant's Designation of Items)
(RLW)


1:18-cv-00105-LG-RHW Notice has been electronically mailed to:

Christopher H. Meredith    cmeredith@cctb.com, 2363508420@filings.docketbird.com,
leech-group@cctb.com

Robert A. Byrd    rab@byrdwiser.com, wrs@byrdwiser.com

1:18-cv-00105-LG-RHW Notice has been delivered by other means to:
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Patrick S. Garrity
Steffes Firm, LLC
13702 Course Blvd., Building 3
Baton Rouge, LA 70817

The following document(s) are associated with this transaction:
Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1081288797 [Date=5/9/2018] [FileNumber=4893202-0]
[3d085b2bfab9d1ed2cc770c38c396e1af92d566485cdebaad166c6b562b59a6765a5
f2a982eedd35ac55d657e9f8cae5a87964d36377e2999411c6279ed774f9]]
Document description: USBC Clerk's Certificate
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1081288797 [Date=5/9/2018] [FileNumber=4893202-1]
[8bd39cc960f817292e4cee9e5dd655006f77b3dc106b6161540fb40d2ae3b3bbce6c
6152647c8aa10f054bd61de9030d1ab0e8655cd40e35fa2bca768b378f5d]]
Document description: Item 1 - Docket Sheet
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1081288797 [Date=5/9/2018] [FileNumber=4893202-2]
[2b5a112333f51dcbd6fcb9bce5a24d0094f571356edb594d86265285dba5b30379bc
088067884b4da9b18c2b5fde211bf60a892e45f852ee03f2be78630dc153]]
Document description: Item 2 - Designated Items Part 1
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1081288797 [Date=5/9/2018] [FileNumber=4893202-3]
[9db9d9c82743a53983101045d58ebc41e363acf515df7af14865b53abd3a5304b158
3ab4563e9851e1118f18596ee2d9293f961a7ed9f0ab36da5cf69f3a256a]]
Document description: Item 2 - Designated Items Part 2
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1081288797 [Date=5/9/2018] [FileNumber=4893202-4]
[8f57a55196697b723991d5e8d16ffdeb6e647edc9629d5af52e615c00ab1a9aa1582
90fa94bc44991a63a10da1a21cfadd187858060f90c11a14107604c0a218]]
Document description: Item 2 - Designated Items Part 3
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1081288797 [Date=5/9/2018] [FileNumber=4893202-5]
[1c699ed4e0f5d069f72c895e365e2bda73d2deb8d61d28e0d1c3a069f977858abbf0
e7bba80148aafbb5a4634ee7501524e486fde069b46099b2de75f75fbb52]]
Document description: Item 3 - Dkt No. 843-7, Exhibit 41(d)
Original filename:n/a
Electronic document Stamp:
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[STAMP dcecfStamp_ID=1081288797 [Date=5/9/2018] [FileNumber=4893202-6]
[5877e6ae5bbd803a3b49ab0d848f743c2e72f08056f527601703388bcd5392ecafe1
463cba212b173d23c228c89439fd1237c775f6b8cd657b95bca147166ab1]]
Document description: Item 4 - Appellant's Designation of Items
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1081288797 [Date=5/9/2018] [FileNumber=4893202-7]
[125c7fe31a1750411d882e278b6c92d536952086577833b3f4ce31be5d5181f18a2f
34d6ddf96b9bf9de96963aff554d5a30e4fe5a4e630b28b5efc5ea7db7db]]
